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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

    BENNIE G. THOMPSON, et al.,              )
                                             )
                             Plaintiffs,     )
                                             )
        v.                                   ) Civil Case No. 1:21-cv-00400-APM
                                             )
    DONALD J. TRUMP, et al.,                 )
                                             )
                             Defendants.     )
                                             )

                                     [PROPOSED] ORDER

       Upon consideration of Donald J. Trump’s Motion to Dismiss and arguments in

the accompanying memoranda, any opposition thereto, any oral arguments before

this Court and because the Court finds good cause, it is hereby

       ORDERED that Defendant Donald J. Trump’s Motion to Dismiss is

GRANTED, with prejudice.

       The Court hereby enters judgment in favor of Defendant Donald J. Trump on

all of Plaintiffs’ claims.

       SO ORDERED.



Dated: ___________________                     ____________________________
                                               The Honorable Amit P. Mehta
                                               United States District Judge
